50 F.3d 9
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lucho Humberto YOUNGS, Plaintiff-Appellant,v.CITY OF VIRGINIA BEACH SHERIFF'S DEPARTMENT, Defendant-Appellee.
    No. 94-7445.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Feb. 16, 1995.Decided:  March 21, 1995.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Raymond A. Jackson, District Judge.  (CA-94-1140-2)
      Lucho Humberto Youngs, Appellant Pro Se.
      E.D.Va.
      AFFIRMED.
      Before HAMILTON and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing without prejudice his 42 U.S.C. Sec. 1983 (1988) complaint pursuant to 28 U.S.C. Sec. 1915(d) (1988).*  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Youngs v. City of Virginia Beach Sheriff's Department, No. CA-94-1140-2 (E.D. Va.  Nov. 22, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         Generally, dismissals without prejudice are not appealable.  Domino Sugar Corp. v. Sugar Workers Local Union 392, 10 F.3d 1064, 1066 (4th Cir.1993).  Since amendment to Appellant's complaint could not cure the "defects" the district court found in his case, the district court's dismissal is a final, appealable order.  Id. at 1066-67
      
    
    